8:06-cr-00214-LES-TDT   Doc # 107   Filed: 04/16/07   Page 1 of 1 - Page ID # 276



                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:06CR214
                              )
          v.                  )
                              )
JOSE RAMIREZ-SOLANO,          )                       ORDER
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on defendant’s motion

to proceed on appeal in forma pauperis (Filing No. 100).                The

Court previously ordered defendant to pay the appeal fee or to

submit an affidavit and a copy of his inmate trust account

statement before said request would be granted (Filing Nos. 99

and 101).    Defendant has failed to comply.          Accordingly,

            IT IS ORDERED that defendant’s motion for leave to

proceed on appeal in forma pauperis is denied.

            DATED this 16th day of April, 2007.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
